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 5   Attorneys for Defendant
     I.C. SYSTEM, INC. (erroneously sued herein as IC SYSTEMS, INC.)
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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10   OSVALDO RIVERA, an individual, and            Case No. 3:16-cv-01044-JAH-BGS
     KIMBERLY DEVOY, an individual
11
                  Plaintiffs,                      JOINT MOTION FOR ORDER OF
12                                                 DISMISSAL
           vs.
13                                                 Complaint Filed: 4/29/16
     IC SYSTEMS, INC., and DOES 1-50,
14
                  Defendants.
15

16
           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs Osvaldo Rivera and
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     Kimberly DeVoy, and Defendant I.C. System, Inc. (erroneously sued herein as IC
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     Systems, Inc.), jointly move for the entry of an order of dismissal of this matter, on
19
     the merits, with prejudice, with all parties to bear his, her, or its own costs and
20
     attorneys’ fees.
21

22   DATED: June 7, 2018                        HINSHAW & CULBERTSON LLP
23
                                           By: /s/ Renee Choy Ohlendorf
24                                             Renee Choy Ohlendorf
                                               Attorneys for Defendant
25                                             I.C. SYSTEM, INC. (erroneously sued
                                               herein as IC SYSTEMS, INC.)
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                                                 1
                                JOINT MOTION FOR ORDER OF DISMISSAL
                                                                              302009557V1 0987401
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 1   DATED: June 7, 2018                      LAW OFFICES OF ANDRE L. VERDUN
 2
                                              /s/ Andre L. Verdun
 3                                            Andre L. Verdun
                                              Attorney for Plaintiffs
 4                                            OSVALDO RIVERA and
                                              KIMBERLY DEVOY
 5

 6                           SIGNATURE CERTIFICATION

 7         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

 8   Policies and Procedures Manual, I hereby certify that the content of this document is

 9   acceptable to Andre Verdun, counsel for Plaintiffs Osvaldo Rivera and Kimberly

10   DeVoy, and that I have obtained Mr. Verdun’s authorization to affix his electronic

11   signatures to this document.

12

13   DATED: June 7, 2018                      HINSHAW & CULBERTSON LLP
14
                                         By: /s/ Renee Choy Ohlendorf
15                                           Renee Choy Ohlendorf
                                             Attorneys for Defendant
16                                           I.C. SYSTEM, INC. (erroneously sued
                                             herein as IC SYSTEMS, INC.)
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                             JOINT MOTION FOR ORDER OF DISMISSAL
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